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13                          UNITED STATES DISTRICT COURT
14                        CENTRAL DISTRICT OF CALIFORNIA
15                                 WESTERN DIVISION
16   Ms. J.P., et al.,                             Case No. 2:18-cv-06081-JAK-SK
17                 Plaintiffs,
18          v.
19   WILLIAM P. BARR, et al.,                      DEFENDANTS’ STATUS REPORT
20                 Defendants.
21
22          On March 24, 2020, the Court granted the parties’ stipulation staying this
23   litigation, including all pending deadlines and any pending discovery until January 10,
24   2021. ECF No. 298. On May 22, 2020, Defendants submitted a status report providing
25   an update on Defendants’ progress in providing the injunctive relief to class members.
26   ECF No. 299. On June 23, 2020, the Court directed Defendants to file a further status
27   report on or before July 21, 2020. ECF No. 300. Defendants submit this status report
28   in accordance with the Court’s instruction.

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 1   I.    Update on Relief Provided to the Custody Subclass
 2         As of July 14, 2020, there were a total of 13 potential Custody Subclass
 3   members in Immigration and Customs Enforcement (ICE) custody, including
 4   previously identified potential Custody Subclass members. 1 Since the May 22 Status
 5   report, ICE has identified an additional 7 potential Custody Subclass members. ICE
 6   Enforcement and Removal Operations (ERO) had personally served notices on 6 of
 7   the 13 potential Custody Subclass members. See ECF No. 299. ICE is in the process
 8   of personally serving notices on the additional 7 potential Custody Subclass members
 9   that have been identified. See Declaration Captain Indira Harris attached hereto as
10   Defs.’ Ex. A. ERO has also publicly posted notices in certain detention facilities,
11   where the detained subclass members are located. See ECF No. 299. As of this date,
12   mental health evaluations have been completed for 6 potential Custody Subclass
13   members. See Defs.’ Ex. A. A mental health evaluation will be completed for 7 of the
14   Custody Subclass members. ICE anticipates that these mental health evaluations may
15   be completed within two to three weeks.
16   II.   Update on Relief Provided to the Released Subclass
17         On March 11, 2020, the Department of Health and Human Services (HHS)
18   entered into a contract with Seneca Family of Agencies (“Seneca”) to implement the
19   preliminary injunction as to the Released Subclass. Under the contract, Seneca locates
20   class members within the United States, notifies them of the availability of mental
21   health assessment and treatment for themselves and their families, and determines
22   their interest in seeking services. Seneca then coordinates referrals to no or low-cost
23   mental health providers who receive federal grant funding from, or are supported or
24   designated by, the Substance Abuse and Mental Health Services Administration
25   (“SAMHSA”) or the Health Resources and Services Administration (“HRSA”) of
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     1
       Defendants provided Class Counsel with the updated/operative class list prior to
28   the filing of the status report.
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 1   HHS, as well as to community-based mental health organizations. On May 29, 2020,
 2   Seneca requested an extension of the contract, which is currently under review.
 3           On July 20, 2020, Seneca submitted a progress report to HHS, attached hereto
 4   as Defs.’ Ex. B., in which Seneca summarized the efforts it has undertaken to assist
 5   class members obtaining the court-ordered services. As the report indicates, Seneca
 6   has provided 2,097 class members with notices by first-class mail, in both English and
 7   Spanish. Seneca has spoken telephonically with 257 Released Subclass members, 150
 8   of whom have requested mental health services, 30 are undecided, and 71 have
 9   declined services. See Defs.’ Ex. B.
10         In the May 22 Status Report, Defendants explained Seneca had yet to notify
11   221 Released Subclass members for whom there was no physical mailing address
12   because these class members were either released to non-profit organizations serving
13   the immigrant community or reunited at a DHS detention facility. Since that time, the
14   government ran a search through its system of records and has provided Seneca with
15   updated contact information for most of these class members (who have now received
16   written notices).
17         As of today, Seneca lacks mailing addresses for only 28 class members, but
18   Seneca is in the process of conducting additional direct outreach to the non-profit
19   community and searching publicly available sources to locate these families.
20
21   Dated: July 21, 2020                          ETHAN P. DAVIS
                                                   Acting Assistant Attorney General
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23                                                 JEFFREY S. ROBINS
                                                   Deputy Director
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25                                                 SARAH B. FABIAN
                                                   Senior Litigation Counsel
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27                                                 /s/ Nicole N. Murley
                                                   NICOLE N. MURLEY
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 1                             CERTIFICATE OF SERVICE
 2
 3   IT IS HEREBY CERTIFIED THAT:
 4
     I, Nicole N. Murley, am a citizen of the United States and am at least eighteen years
 5
     of age. My business address is 450 Fifth Street, NW, Washington, DC 20001. I have
 6
     caused service of the Status Report on all counsel of record, by electronically filing
 7
     the foregoing with the Clerk of the District Court using its ECF System, which
 8
     electronically provides notice. I also served Plaintiffs’ counsel by electronic mail. I
 9
     declare under penalty of perjury that the foregoing is true and correct.
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11
     DATED: July 21, 2020
12
                                            /s/ Nicole N. Murley
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                                            NICOLE N. MURLEY
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